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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JASON HITT
     TODD LERAS
 3   Assistant U.S. Attorneys
     501 I Street, Suite 10-100
 4   Sacramento, California 95814
     Telephone: (916) 554-2751
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 7
                IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                         EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,       )       Case No. 2:06-cr-00428-KJM
                                     )
11             Plaintiff,            )           STIPULATION AND PROTECTIVE
                                     )          ORDER REGULATING DISCOVERY
12   v.                              )
                                     )
13   Angela T. Summerfield,          )           Fed. R. Crim. P. 16(d)(1)
                                     )
14             Defendant.            )
                                     )
15                                   )
                                     )
16
17        Pursuant to Fed. R. Crim. P. 16(d), the undersigned parties
18   in United States v. Angela T. Summerfield, Case No. 2:06-cr-
19   00428-KJM, stipulate and agree, and respectfully request that the
20   Court order that:
21        1.   The United States shall turn over additional discovery
22             in this case to defendant Angela T. Summerfield
23             (“DEFENDANT”), containing “J-designated” Bates numbers,
24             and any subsequent material discovered by the
25             government to the DEFENDANT using the “J-designated”
26             Bates numbering or otherwise protected designation
27             (referred to throughout this Stipulation as “The
28             Protected Material”). Disclosure of The Protected

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 1        Material to DEFENDANT may be required pursuant to the
 2        government’s discovery obligations and, even if not
 3        required, will facilitate DEFENDANT’S trial
 4        preparation.
 5   2.   The Protected Material is now and will forever remain
 6        the property of the United States. The Protected
 7        Material is entrusted to counsel for the DEFENDANT
 8        only for purposes of representation of DEFENDANT
 9        during trial in this case.
10   3.   The purpose of this Order is to establish the
11        procedures that must be followed by defense counsel of
12        record, any designated employees, and all other
13        individuals who receive access to this information or
14        these documents in connection with this case.
15   4.   Counsel for DEFENDANT shall not give the Protected
16        Material to any person other than counsel’s staff
17        assisting in the present trial.        The term “staff” shall
18        explicitly include attorney, paralegals, and
19        investigators assisting counsel for DEFENDANT in the
20        present trial and exclude any other defendant in this
21        multi-defendant case, any other counsel for the other
22        defendants in this case, or any other person other than
23        those specifically described in this paragraph.
24   5.   Any person receiving access to the Protected Material
25        from counsel for DEFENDANT shall be bound by the same
26        obligations as defense counsel and, further, may not
27        give the Protected Material to anyone (except that the
28        Protected Material shall be returned to counsel, see,

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 1                infra).
 2           6.   Counsel for DEFENDANT shall maintain a list of persons
 3                to whom any portions or copies of the Protected
 4                Material are being or have been given. Such persons
 5                shall be provided with a copy of this Stipulation and
 6                Order and shall sign their full names to a copy of the
 7                Stipulation and agree to be bound by the Order and note
 8                that they understand its terms and agree to them by
 9                signing.
10           7.   Counsel for DEFENDANT may use any and all of the
11                Protected Material in the vigorous defense of DEFENDANT
12                in the instant case in any manner deemed essential to
13                adequately represent the client (i.e., in motions that
14                are filed under seal, if necessary; in ex-parte
15                applications as may be needed; and in reproducing and
16                summarizing the Protected Material for use in trial
17                preparation summaries, exhibits and as evidence, as may
18                be needed), consistent with the Protective Order as it
19                shall be originally prepared and signed. In the event
20                defense counsel needs to use the Protected Material in
21                a manner not authorized under the present Proposed
22                Protective Order, counsel shall be entitled to seek to
23                have the order amended by the District Court after
24                having given notice to counsel for the government in a
25                hearing before the District Court in order to meet the
26                obligations under the Sixth Amendment to the United
27                States Constitution.
28   / / /

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 1   8.    Counsel for DEFENDANT is authorized to read to
 2         DEFENDANT any and all portions of the Protected
 3         Material.   Counsel for DEFENDANT and any members of
 4         counsel’s staff, however, are prohibited from giving
 5         the DEFENDANT: any of the Protected Material, itself;
 6         copies of the Protected Material; copies of excerpts of
 7         the Protected Material; or summaries of the Protected
 8         Material.   This prohibition will not extend to
 9         DEFENDANT viewing the Protected Material in open court
10         should any of these materials or summaries thereof be
11         used in the litigation of this case.
12   9.    Within twenty days of the finality of the instant case
13         against the DEFENDANT, as determined under the Federal
14         Rules of Criminal Procedure and case law from the
15         United States Court of Appeals for the Ninth Circuit
16         and the United States Supreme Court, counsel for
17         DEFENDANT shall return any and all copies of the
18         Protected Material and so certify to the attorney for
19         the government.
20   10.   Any and all copies of the Protected Material that may
21         have been made by defense counsel or defense counsel’s
22         staff shall remain in the possession of the person to
23         whom defense counsel entrusted them until the case
24         terminates at the District Court level. Thereafter,
25         within 20 days of either sentencing or some other order
26         terminating the jurisdiction of the District Court,
27         each person to whom defense counsel entrusted a copy of
28         any of the Protected Material must return such to

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 1             defense counsel and said counsel, in turn, shall return
 2             the materials to the government within 30 days of the
 3             case becoming final in the District Court. Defense
 4             counsel shall return the materials in accordance with
 5             paragraph 7, above.
 6
 7                                     Respectfully Submitted,
 8                                     BENJAMIN B. WAGNER
                                       United States Attorney
 9
     DATE: July 31, 2012               /s/Jason Hitt
10                                     JASON HITT
                                       WILLIAM S. WONG
11                                     Assistant U.S. Attorneys
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13
14   DATE: July 31, 2012               /s/Kathy Druliner
                                       Authorized to sign for Ms. Druliner
15                                     KATHRYN KOHLMAN DRULINER
                                       Counsel for ANGELA T. SUMMERFIELD
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 1                                     O R D E R
 2        IT IS HEREBY ORDERED that, based upon the agreement of the
 3   parties, the Court adopts the proposed stipulation regulating
 4   certain discovery in this case.
 5        IT IS SO ORDERED.
 6   DATED:     August 2, 2012.
 7
                                            UNITED STATES DISTRICT JUDGE
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